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FORM 9
APPLICATION FOR ACCESS TO INFORMATION UNDER
PROTECTIVE ORDER BY OUTSIDE OR INSIDE COUNSEL

United States Court of Federal Claims

2M Research Services, Llc

 

NO_ 17-1638

Plaintiff,
Judg€ Loren A. Smith
V.

THE UNITED STATES,

Defendant.

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APPLICATION FOR ACCESS TO INFORMATION UNDER
PROTECTIVE ORDER BY OUTSIDE OR INSIDE COUNSEL

l. I, LOra A- Brzezvnski , hereby apply for access to protected information covered by
the Protective Order issued in connection With this proceeding
2. a. l [outside counsel only] am an attorney With the law firm of Drink€r Biddl€ & R€afh LLP

 

 

 

and have been retained to represent 2'\/\ ReS@afCh S€“'ices '-'C , a party to this
proceeding
b. l [inside counsel] am in~house counsel (my title is: ) for

 

, a party to this proceeding

3. l am |::|am not-a member of the bar of the United States Court of Federal Claims (the court).

4. My professional relationship With the party l represent in this proceeding and its personnel is strictly
one of legal counsel l am not involved in competitive decision making as discussed in U.S. Steel Corp. v.
Um'z‘ea' Staz‘es, 730 F.Zd 1465 (Fed. Cir. 1984), for or on behalf of the party lrepresent, any entity that is an
interested party to this proceeding, or any other firm that might gain a competitive advantage from access
to the information disclosed under the Protective Order. l do not provide advice or participate in any
decisions of such parties in matters involving similar or corresponding information about a competitor. This
means that I do not, for example, provide advice concerning, or participate in decisions about, marketing or
advertising strategies, product research and development, product design or competitive structuring and
composition of bids, offers, or proposals With respect to Which the use of protected information could provide
a competitive advantage

5. l [outside counsel only] identify here (by Writing “none” or listing names and relevant circumstances)
those attorneys in my firm Who, to the best of my knowledge, cannot make the representations set forth in
the preceding paragraph:

6. I identify here (by Writing “none” or listing names, position, and responsibilities) any member of
my immediate family who is an officer or holds a management position With an interested party in the

 

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proceeding or with any other firm that might gain a competitive advantage from access to the information
disclosed under the Protective Order.

None

 

7. I identify here (by writing “none” or identifying the name of the forum, case number, date, and
circumstances) instances in which l have been denied admission to a protective order, had admission
revoked, or have been found to have violated a protective order issued by any administrative or judicial
tribunal:

None

8. I [inside counsel] have attached a detailed narrative providing the following information:

a. my position and responsibilities as in-house counsel, including my role in providing advice
in procurement-related matters;

b. the person(s) to whom I report and their position(s) and responsibilities;

c. the number of in-house counsel at the office in which l work and their involvement, if any,
in competitive decision making and in providing advice in procurement-related matters.

d. my relationship to the nearest person involved in competitive decision making (both in
terms of physical proximity and corporate structure); and

e. measures taken to isolate me from competitive decision making and to protect against the
inadvertent disclosure of protected information to persons not admitted under the Protective
Order. g

9. Ihave read the Protective Order issued by the court in this proceeding I will comply in alli'espects
with that order and will abide by its terms and conditions in handling any protected information produced
in connection with the proceeding

10. l acknowledge that a violation of the terms of the Protective Order may result in the imposition of
such sanctions as may be deemed appropriate by the court and in possible civil and criminal liability.

 

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By my signature, l certify that, to the best of my knowledge, the representations set forth above

(ir::lzdng attached statements) are true and correct.

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Sigfiature l'""__/ Date Executed
Lora A. Brzezynski, Partner

Typed Name and Title
202-230-5375 a 202-342-8465

 

 

Telephone & Facsimile Numbers
|ora.blzezynski@dbr.com

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Date'Executed

   
      

Jessica , Abrahams, Partner

Typech\Iame and Title
202-230-5361 a 202-842-8465

   

 

 

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